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                                    UNITED STATES DISTRICT COURT
    4                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
    5                                    SAN FRANCISCO DIVISION
    6
                                                                     No. M-07-5944 SC
    7                                                                MDL No. 1917
    8   IN RE: CATHODE RAY TUBE (CRT)
        ANTITRUST LITIGATION
    9                                                                Court: Hon. Samuel Conti
10
1       T is Document Related to All Cases
12
13
14
                                STIPULATION AND [PROPOSED] ORDER
15                              TO EXTEND LIMITED DISCOVERY STAY
16             WHEREAS the Court, on September 12, 2008, entered an Order pursuant to Stipulation,
17      granting a Limited Stay of Discovery for six 6) months, which was to expire on March 12, 2009
18      ("September 12, 2008 Stay Order");
19             WHEREAS the Court, on February 5, 2009, entered an Order pursuant to Stipulation
"-)0    modifying and extending the September 12, 2008 Stay Order until September 11, 2009, with
21      imitations on deposition discovery continuing until January 4, 2010 ("February 5, 2009 Stay
2       Order");
23             WHEREAS on June 8, 2009, Special Master Charles A. Legge, entered an Order further
24      extending the February 5, 2009 Stay Order, "until such time as the Court has issued its
        decision(s) on the various motions to dismiss that were filed on May 18, 2009 ("June 8, 2009
26      Stay Order");
27             WHEREAS on January 5, 2010, the Court entered an Order pursuant to Stipulation
28
        STIPULATION AND [PROPOSED] ORDER TO EXTEND LIMITED DISCOVERY STAY
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     modi lying and extending the February 5, 2009 and ne 8, 2009 Stay Orders until March 8,
     2010, with limitations on deposition discovery continuing until November 1, 2010
      "January 5, 2010 Stay Order");
 4           WI If REAS there is an ongoing criminal grand jury investigation involving the products
     a issue in this case;
 6           WHEREAS the parties have met and conferred and agreed to request modification and
 7 extension of the September 12, 2008, February 5, 2009, June 8, 2009, and January 5, 2010
     Stay Orders;
 9           PLAINTIFFS, DEFENDANTS, AND THE UNITED STATES, BY AND THROUGH
 0 THEIR UNDERSIGNED COUNSEL, HEREBY STIPULATE AND AGREE AS FOLLOWS:
             That Paragraph 3 of the January 5, 2010 Stay Order, which modified and replaced in its
      ntirety Paragraph 3 of the September 12, 2008 Stay Order, shall remain in effect, as follows:
                     During the pendency of the grand jury proceedings and any resulting criminal
             trials, no discovery shall be conducted in this case (including, without limitation,
             document requests, interrogatories, requests to admit, or depositions) that reflects, refers
             to, or relates to grand jury proceedings concerning CRTs or CRT products, including any
             party's or witness's communications with the United States, or with any grand jury
             investigating CRTs or CRT products, except by the order of the Court upon good cause
19           shown and consistent with governing law.

             That Paragraph 5 of the June 8, 2009 Stay Order shall be modified and that Paragraph 2 b)
21 of the February 5, 2009 Stay Order shall be modified and replaced in its entirety with the followin
22 new Paragraph 2(b):
23                   The Stay Period, as defined in paragraph 1 of the February 5, 2009 Stay Order,
24           extends until March 8, 2010. However, no deposition discovery may be taken until
25           March 1, 2011, with the following exception: as of March 8, 2010, depositions may be
26           taken of defendants' customers or suppliers, or their employees, provided in any case that
27          the deponent is not a defendant or a subsidiary or affiliate of a defendant, or an employee,
28           agent, or former employee of any of them. Such deposition subpoenas may include request
     STIPULATION AND 1PROPOSEDI ORDER TO EXTEND LIMITED DISCOVERY STAY
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               for documents to be produced by the deponent at the deposition, provided that no
               document requests may request the production of documents disclosing the contents of the
               witness's testimony, if any, before the grand jury or communications with the United State
    4          that reflect, refer to, or relate to the grand jury proceedings.


    6          IT IS SO STIPULATED.
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24            PURSUANT TO STIPULATION, IT IS SO ORDERED.
25
26 Dated:         October 27, 2010
                                                       Honorable Samuel Conti
27                                                     UNITED STATES DISTRICT JUDGE
28
        STIPULATION AND IPROPOSEDI ORDER TO EXTEND LIMITED DISCOVERY STAY
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